Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 1 of 56




                    EXHIBIT A
       Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 2 of 56
                                                                      CT Corporation
                                                       Service of Process Notification
                                                                                                               06/21/2023
                                                                                                  CT Log Number 544121190


Service of Process Transmittal Summary

TO:      Viraj Telang
         LYFT, INC.
         185 BERRY ST STE 400
         SAN FRANCISCO, CA 94107-1725

RE:      Process Served in District of Columbia

FOR:     Lyft, Inc. (Domestic State: DE)



ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                       Re: JANE DOE // To: Lyft, Inc.

DOCUMENT(S) SERVED:                    Summons, Order, Attachment(s), Complaint, Jury Demand, Information Sheet, Motion,
                                       Certificate, Exhibit(s)
COURT/AGENCY:                          District of Columbia - U.S. Supreme Court, DC
                                       Case # 2023CAB002577
NATURE OF ACTION:                      Personal Injury - Vehicle Collision - 04/30/2022

PROCESS SERVED ON:                     C T Corporation System, Washington, DC

DATE/METHOD OF SERVICE:                By Process Server on 06/21/2023 at 17:46

JURISDICTION SERVED:                   District of Columbia

APPEARANCE OR ANSWER DUE:              Within 21 days after service of this summons upon you, exclusive of the day of service

ATTORNEY(S)/SENDER(S):                 Joseph Cammarata
                                       CHAIKIN, SHERMAN, CAMMARATA & SIEGEL, P.C.
                                       1232 17th St. NW
                                       Washington, DC 20036
                                       202-659-8600
ACTION ITEMS:                          CT has retained the current log, Retain Date: 06/22/2023, Expected Purge Date:
                                       06/27/2023

                                       Image SOP

                                       Email Notification, John Pellegrini jpellegrini@lyft.com

                                       Email Notification, Viraj Telang virajt@lyft.com

                                       Email Notification, Christopher Youngblood cyoungblood@lyft.com

                                       Email Notification, Eboni James ebonijames@lyft.com

                                       Email Notification, Ty Lim legalbilling@lyft.com

                                       Email Notification, Devin Armstrong devina@lyft.com

                                       Email Notification, Legal Sop legal-sop@lyft.com

                                       Email Notification, Zermani Kadiam zkadiam@lyft.com




                                                                                                                    Page 1 of 2
      Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 3 of 56
                                                                     CT Corporation
                                                      Service of Process Notification
                                                                                                                 06/21/2023
                                                                                                    CT Log Number 544121190

REGISTERED AGENT CONTACT:               C T Corporation System
                                        1015 15th Street, NW
                                        Suite 1000
                                        Washington, DC 20005
                                        877-564-7529
                                        MajorAccountTeam2@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 2 of 2
                 Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 4 of 56



                                                                     Wolters Kluwer

                             PROCESS SERVER DELIVERY DETAILS



Date:                                         Wed, Jun 21, 2023
Server Name:                                  Drop Service




 Entity Served                  LYFT,. INC.

 Case Number                    2023CAB002577
 J urisdiction                  DC



                                                   Inserts
                Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 5 of 56
                                           Superior Court of the District of Columbia
                                                       CIVIL DIVISION
                                                   Civil Actions Branch
                                500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                     Telephone:(202)879-1133 Website: www.dccourts.gov

    Jane Doe
                                                              Plaintiff
                                     VS.
                                                                                           Case Number           2023-CAB-002577
    Lyft, Inc.
                                                             Defendant

                                                            SUMMONS
  To the above named Defendant:

          You are hereby summoned and required to serve an Answer to the attached Complaint, either
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty(60) days after service of this summons to serve your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

         You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
 Satbrdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint.

 Joseph Cammarata                                                                     Clerk ofthe Court
 Name of Plaintiff's Attorney

 1232 17th St. NW                                                         By               •
 Address                                                                                                                     fi
                                                                                                   Deputy Chr.      .70
 Washington. DC 20036

 202-659-8600                                                             Date                   June 1, 2023
 Telephone
 0:1RIELMITEgiri(202)879-4828     Veuillez appeler au (202)879-4828 pour une traduction Dé có mijt bai dich, hay gpi (202)879-4828
 ttieta V1)}46,(202)879-4828E.MMVIMIga 4),‘"IC             nmrill- (202)879-4828 .e.cam-


   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
 COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION,DO NOT FAIL TO ANSWER WITHIN THE REOUIRED TIME.

    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                See reverse side for Spanish translation
                                                 Vea al dorso la traduccion al espaiiol




CV-3110[Rev. June 2017]                                                                                            Super. Ct. Civ. R. 4
                     Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 6 of 56


                                      TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                      DIVISION CIVIL
                                                 Seccion de Acciones Civiles
                                           500 Indiana Avenue, N.W.,Suite 5000, Washington, D.C. 20001
                                                  Telefono:(202)879-1133 Sitio web: www.dccourts.gov



         Jane Doe
                                                                Demandante
                                       contra
                                                                                              Numero de Caso:
           Lyft, Inc.
                                                                 Demandado

                                                                CITATORIO
       Al susodicho Demandado:
                Por la presente se le cita a comparecer y se le require entregar una Contestacion a la Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintiim (21) dias contados despues que usted haya recibido este
       citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oficial o
       agente del Gobiemo de los Estados Unidos de Norteamerica o del Gobiemo del Distrito de Columbia, tiene usted
       sesenta (60) dias, contados despues que usted haya recibido este citatorio, para entregar su Contestacion. Tiene que
       enviarle por correo una copia de su Contestaci6n al abogado de la parte demandante. El nombre y direccion del
       abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Contestaci6n por correo a la direcci6n que aparece en este Citatorio.

               A usted tambien se le require presentar la Contestacion original al Tribunal en la Oficina 5000, sito en 500
       Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viemes o entre las 9:00 a.m. y las 12:00 del mediodia
       los sabados. Usted puede presentar la Contestacion original ante el Juez ya sea antes que usted le entregue al
       demandante una copia de la Contestacion o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
       usted incumple con presentar una Contestacion, podria dictarse un fallo en rebeldia contra usted para que se haga
       efectivo el desagravio que se busca en la demanda.
        Joseph Cammarata                                                   SECRETA RIO DEL TRIBUNAL
      Nombre del abogado del Demandante

       1232 17th St. NW                                                     Por:
      Direccion                                                                                           Subsecretario
       Washington, DC 20036

        202-659-8600                                                        Fecha
      Telefono
      Ponfoa,illtT CI(202)879-4828          Veuillez appeler au (202)879-4828 pour une traduction   De co mat bai dick, hay goi (202)879-4828
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        IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
      MENCIONADO 0, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
      DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DASIOS Y PERJUICIOS U OTRO
      DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS,0
      PODRIA TOMARSELE SUS BIENES PERSONALES 0 BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
      USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
      EXIGIDO.

         Si desea conversar con un abogado y le parece que no puede pagarle a uno, name pronto a una de nuestras oficinas del Legal Aid
      Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
      Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                      Vea al dorso el original en ingles
                                                     See reverse side for English original
CV-3110[Rev. June 2017]                                                                                              Super. Ct. Civ. R.4
                Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 7 of 56


                                 Superior Court of the District of Columbia
                                        Civil - Civil Actions Branch
                          500 Indiana Ave NW, Room 5000, Washington DC 20001
                                   (202)879-1133 I www.dccourts.gov


Case Number: 2023-CAB-002577
Case Caption: Jane Doe v. Lyft, Inc. et. al.

                                                     INITIAL ORDER


           Initial Hearing Date:                     Initial Hearing Time:                    Courtroom Location:
             Friday, 08/18/2023                             9:30 AM                           Remote Courtroom 212

                               Please see attached instructions for remote participation.

                                Your case is assigned to Associate Judge Yvonne Williams.

Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure ("Super. Ct. Civ. R.") 40-
1, it is hereby ORDERED as follows:
1) This case is assigned to the judge and calendar designated above. All future filings in this case shall bear the
    calendar number and judge's name along with the case number in the caption.
2) Within 60 days of the filing of the complaint, plaintiff must file proof of service on each defendant of copies of the
    summons, the complaint, and this Initial Order. The court will dismiss the claims against any defendant for whom such
    proof of service has not been filed by this deadline, unless the court extended the time for service under Rule 4.
3) Within 21 days of service (unless otherwise provided in Rule 12), each defendant must respond to the complaint by
    filing an answer or other responsive pleading. The court may enter a default and a default judgment against any
    defendant who does not meet this deadline, unless the court extended the deadline under Rule 55(a).
4) At the time stated below, all counsel and unrepresented parties shall participate in a hearing to establish a schedule
    and discuss the possibilities of settlement. Counsel shall discuss with their clients before the hearing whether the
    clients are agreeable to binding or non-binding arbitration. This order is the only notice that parties and counsel will
    receive concerning this hearing.
5) If the date or time is inconvenient for any party or counsel, the Civil Actions Branch may continue the Conference
    once, with the consent of all parties, to either of the two succeeding days when the calendar is called. To reschedule
    the hearing, a party or lawyer may call the Branch at(202)879-1133. Any such request must be made at least seven
    business days before the scheduled date. No other continuance will be granted except upon motion for good cause
    shown.
6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil cases, each
    judge's Supplement to the General Order and the General Mediation Order. Copies of these orders are available in
    the Courtroom and on the Court's website http://www.dccourts.qov/.


                                                                                          Chief Judge Anita M. Josey-Herring




                                                         Page 1 of 6
               Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 8 of 56


To Join by Computer, Tablet, or Smartphone:
1) Copy and Paste or Type the link into a web browser and enter the Webex Meeting ID listed below.

   Link: dccourts.webex.com/meetictb212

   Meeting ID: 129 440 9070

2) When you are ready, click "Join Meeting".
3) You will be placed in the lobby until the courtroom clerk gives you access to the hearing.


Or to Join by Phone:

1) Call 202-860-2110 (local) or 844-992-4726 (toll-free)
2) Enter the Webex Meeting ID listed above followed by "##"



Resources and Contact Information:

1) For best practices on how to participate in Webex Meetings, click here https://www.webex.com/learn/best-
   practices.html.
2) For technical issues or questions, call the Information Technology Division at 202-879-1928 and select
   option 2.
3) For case questions, call the Civil Actions Branch Clerk's Office at(202)879-1133.




                                                 Page 2 of 6
               Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 9 of 56



                                     ACCESSIBILITY AND LANGUAGE ACCESS


Persons with Disabilities:
If you have a disability as defined by the American Disabilities Act(ADA) and you require an accommodation,
please call 202-879-1700 or email ADACoordinator dcsc.clov . The D.C. Courts does not provide
transportation service.


Interpreting and Translation Services:
The D.C. Courts offers free language access services to people having business with the court who are deaf
or who are non-English speakers. Parties to a case may request free translations of court orders and other
court documents. To ask for an interpreter or translation, please contact the Clerk's Office listed for your
case. For more information, visit https://www.dccourts.qov/lanquaqe-access.


Servicios de interpretacion v traduccion:
Los Tribunales del Distrito de Columbia ofrecen servicios gratuitos de acceso al idioma a las personas sordas
o que no hablan ingles que tienen asuntos que atender en el tribunal. Las partes de un caso pueden solicitar
traducciones gratuitas de las ordenes judiciales y otros documentos del tribunal. Para solicitar un interprete o
una traduccion, pOngase en contacto con la Secretaria de su caso.
Para mas informacion, visite https://www.dccourts.qov/lanquaqe-access.
El acceso al idioma es importante para los Tribunales del Distrito de Columbia. Puede dar su opiniOn sobre
los servicios de idiomas visitando httos://www.dccourts.qov/services/information-and-resources/interpretinq-
services#1anquaqe-access.


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                                                       Page 3 of 6
                      Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 10 of 56



      Tips for Attending Remote Hearings - Civil Division
        Your court hearing may be held remotely. This means that you will participate by phone or by video
             conference instead of coming to the courthouse. Here are some tips on how to prepare.


How do I know if I have a remote hearing?                                Tips for the Hearing
The Court will contact you to tell you that your hearing is remote. •        Join the hearing a few minutes early!
                                                                                                                               k
They may contact you by sending you an email, letter in the mail,
or by calling you.                                                  •        Charge your computer or phone and make sure you have
                                                                             enough minutes to join the call. Find a private and quiet
                                                    171                      space. If possible, be alone in a room during the hearing. Try
                                                                             to limit distractions as much as possible. If others are in the
                                                                             room with you, ask if they can be quiet during the hearing.
How do I take part in a remote hearing?
                                                                         •   Mute your microphone when you are not talking. Mute all
The Court will give you step-by-step instructions on how to take
                                                                             sounds on your phone or computer.
part in the remote hearing.
                                                                         •   Say your name before you speak so the record                   is
If you lose your written notice, call the Civil Actions Clerk's Office       clear. Be prepared to identify your role in the
for instructions at:                                                         hearing (e.g., observer, plaintiff, defendant, witness, etc.).
                                                                         •   Speak slowly and clearly so everyone hears what you are
                           202-879-1133
                                                                             saying.
                                                                         •   Pause before speaking in case there is a lag. Use a headset
Is there anything that I should do before                                    or headphones if you can. This will free up your hands and
the day of the hearing?                                                      sound better.

•   Let the court know immediately if you cannot join a hearing          •   Try not to talk over anyone else. Only one person can speak
    because you do not have a phone or computer.                             at a time. If you talk while someone else is talking, the judge
                                                                             will not be able to hear you.
        Civil Actions Clerk's Office: 202-879-1133
                                                                         •   Have all your documents for the hearing in front of you. Have
                                                                             a pen and paper to take notes.
•   You may want to contact an attorney for legal help.
                                                                         •   If you are not ready for your hearing or want to speak with an
•   You can also find the list of legal services providers at                attorney, you can ask the judge to postpone your hearing for
    dccourts.qov/coronavirus by clicking on the link that says,              another date.
    "List of Legal Service Providers for Those Without an                •   If your sound or video freezes during the hearing, use the
    Attorney."                                                               chat feature or call the Clerk's Office to let them know that
•   Evidence: if you want the judge to review photos or                      you are having technical issues.
    documents, ask the judge how to submit your evidence.
•   Witnesses: tell the judge if you want a witness to testify at        Special Tips for Video Hearings
    your hearing.                                                        (Click here for more information)
•   Accommodations & Language Access: let the court know if              •   Download the court's hearing software, WebEx, in advance
    you need an interpreter or other accommodation for your                  and do a test run! The Court will provide you with a WebEx
    hearing.                                                                 link in advance of the hearing.
                                                                         •   Set up the camera at eye level. If you are using your phone,
                                                                             prop it up so you can look at it without holding it.
                                                                         •   Look at the camera when you speak and avoid moving
                                                                             around on the video.
                                                                         •   Wear what you would normally wear to court.
                                                                         •   Sit in a well-lit room with no bright lights behind you.
                                                                         •   If possible, find a blank wall to sit in front of. Remember the
                                                                             judge will be able to see everything on your screen, so pick a
                                                                             location that is not distracting.



                                                                 Page 4 of 6
               Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 11 of 56




  The DC Courts have remote hearing sites available in various locations in the community to help
  persons who may not have computer devices or internet service at home to participate in scheduled
  remote hearings. The Courts are committed to enhancing access to justice for all.

  There are six remote access sites throughout the community which will operate: Monday — Friday,
  8:30 am — 4:00 pm.

                                        The remote site locations are:
         Remote Site - 1                                                              Remote Site -4
Balance and Restorative Justice                                              Balance and Restorative Justice
Center                                                                       Center
1215 South Capitol Street, SW                                                920 Rhode Island Avenue, NE
Washington, DC 20003                                                         Washington, DC 20018


           Remote Site - 2                                                              Remote Site - 5
Balance and Restorative Justice                                               Reeves Center
Center                                                                        2000 14th Street, NW,2nd Floor
1 110 V Street, SE                                                            Community Room
Washington, DC 20020                                                          Washington, DC 20009


          Remote Site - 3                                                                Remote Site - 6
Balance and Restorative Justice                                               Reeves Center
Center                                                                        2000 14th Street, NW, Suite 300N
118 Q Street, NE                                                              Office of the Tenant Advocate
Washington, DC 20002                                                          Washington, DC 20009
                                                                              *** No walk-ins at this location***

  If you want to use a remote site location for your hearing, call 202-879-1900 or email
  DCCourtsRemoteSites dcsc.qov at least 24 hours before your hearing to reserve a remote access
  computer station. If you require special accommodations such as an interpreter for your hearing, please call
  202-879-1900 at least 24 hours in advance of your hearing so the Courts can make arrangements.
  *You should bring the following items when you come to your scheduled site location*
     1. Your case number and any hyperlinks provided by the Courts for your scheduled hearing.
     2. Any documents you need for the hearing (evidence), including exhibits, receipts, photos, contracts, etc.
     3. Materials for noteta king, including pen and paper.


 *Safety and security measures are in place at the remote sites.
  Contact information to schedule your remote access computer station:
  Call: 202-879-1900
  Email: DCCourtsRemoteSites@dcsc.gov



                                                   Page 5 of 6
                 Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 12 of 56
                               Tribunales del Distrito de Columbia
                       Consejos para usar los sitios de audiencia remota de los
                                          Tribunales de DC
  Los Tribunales de DC disponen de sitios de audiencia remota en distintos centros de la comunidad para
  ayudar a que las personas que no tienen dispositivos informaticos o servicio de Internet en su casa puedan
  participar en audiencias remotas programadas. Los Tribunales honran el compromiso de mejorar el acceso de
  toda la poblacion a la justicia.


  En toda la comunidad hay seis sitios de acceso remoto que funcionaran de lunes a viernes, de 8:30 am a 4:00
  Pm.

                                             Los centros de acceso remoto son:

         Sitio Remoto - 1                                                                      Sitio Remoto -4
Balance and Restorative Justice                                                       Balance and Restorative Justice
Center                                                                                Center
1215 South Capitol Street, SW                                                         920 Rhode Island Avenue, NE
Washington, DC 20003                                                                  Washington, DC 20018


          Sitio Remoto -2                                                                       Sitio Remoto -5
Balance and Restorative Justice                                                        Reeves Center
Center                                                                                 2000 14th Street, NW, 2nd Floor
1 110 V Street, SE                                                                     Community Room
Washington, DC 20020                                                                   Washington, DC 20009


          Sitio Remoto -3                                                                        Sitio Remoto -6
Balance and Restorative Justice                                                        Reeves Center
Center                                                                                 2000 14th Street, NW, Suite 300N
1 18 Q Street, NE                                                                      Office of the Tenant Advocate
Washington, DC 20002                                                                   Washington, DC 20009
                                                                                       *No se puede entrar sin cita previa*

  Si desea usar un sitio remoto para su audencia, Ilame al 202-879-1900 o envie un mensaje de correo electrenico a
  DCCourtsRemoteSitesedcsc.00v al menos 24 horas antes de la audiencia, para reservar una estacion de
  computadora de acceso remoto. Si necesita adaptaciones especiales, como un interprete para la audiencia, Dame
  al 202-879-1900 al menos 24 horas antes de la audiencia para que los Tribunales puedan hacer los arreglos
  necesarios.

 *Cuando concurra al sitio programado debe Ilevar los siguientes articulos*

                   1. Su n6mero de caso y todos los hipervinculos que le hayan proporcionado los
                      Tribunales para la audiencia programada.

                   2. Cualquier documento que necesite para la audiencia (prueba), incluidos documentos
                      probatorios, recibos, fotos, contratos, etc.

                   3. Materiales para tomar nota, como papel y lapiz.
 *Los sitios de acceso remoto cuentan con medidas de seguridad y proteccion.

  Informacion de contacto para proqramar su estaci6n de computadora de acceso remoto:
  Telefono: 202-879-1900
  Correo electrenico: DCCourtsRemoteSitesedcsc.00v




                                                          Page 6 of 6
Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 13 of 56
                                                         ••••••••••
                                                                 ,  ....11.

                                                                                         •     eFiled --
                                                                                     04/27/2023 2:40:17 PM
                                                                                           Superior Court
                                                                                    of the District of Columbia




        IN THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
                          CIVIL DIVISION

JANE DOE
c/o Chaikin, Sherman, Cammarata
  & Siegel, P.C.
1232 17th Street, N.W.
Washington, DC 20036

             Plaintiff,

     v.                                         Case No.
                                                    2023-CAB-002577
LYFT, INC.
185 Berry Street, Suite 5000
San Francisco, CA 94107
     SERVE:
     CT Corporation System
     1015 15th Street, N.W.
     Washington, DC 20005

     and

NAOUFAL JELLALI
3701 S. George Mason Drive
Unit 2201                                •
Falls Church, VA 22041

             Defendants.


                                 COMPLAINT

     COMES    NOW   the   Plaintiff,   Jane   Doe,1    by        and           through       her

attorneys,     Joseph     Cammarata,   Esquire,       Kayann                  S.   Chambers,

Esquire, and the law firm of Chaikin, Sherman, Cammarata & Siegel,

P.C., and respectfully represents as follows:




1 "Jane Doe" is a pseudonym. Plaintiff is separately filing a motion
for leave to proceed using this pseudonym.
Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 14 of 56




                                    JURISDICTION

      1.      This Court has subject matter jurisdiction over this

matter pursuant to D.C. Code §11-921, and because the incident

complained of herein occurred in the District of Columbia.

      2.      This   Court    has   personal       jurisdiction      over   Defendant

Lyft, Inc. (hereinafter "Lyft") pursuant to D.C. Code § 13-422

and   D.C.    Code § 13-423 in           that    Defendant     Lyft,   directly   and

through      its   agent,    apparent     agent,        servant,   and/or   employee,

Defendant Naoufal Jellali, caused tortious injury in the District

of Columbia by act or omission.

                                      PARTIES

      3.      Plaintiff was, at all times relevant hereto, a citizen

and resident of Washington, DC.

      4.      Defendant      Lyft   is    a     common     carrier   and    rideshare

service transportation company headquartered in San Francisco,

CA, which is authorized and doing business in the District of

Columbia.

      5.      Defendant Naoufal Jellali was, at all times relevant

hereto, a citizen and resident of Fairfax, VA, working in the

Commonwealth of Virginia and District of Columbia as a for-hire

driver through Defendant Lyft's rideshare service.

                     DEFENDANT LYFT'S RIDESHARE SERVICE

      6.      Defendant      Lyft's      rideshare         cellphone    application

(hereinafter       the   "Lyft      App")       pairs    operators     of   passenger



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Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 15 of 56




vehicles-for-hire       (hereinafter "Drivers")            with   Lyft App        users

seeking        on-demand      automobile       transportation       (hereinafter

"Riders").

        7.     Riders use the Lyft App to request a Driver to provide

transportation        from     their     present      location     to   a     preset

destination (a "ride"). Drivers provide their own vehicle and are

compensated with a percentage of the fee assessed by Defendant

Lyft for each ride.

       8.      To enable the ride, the Lyft App provides the Driver

with    information,        including,   inter     alia,   the    Rider's     pickup

location       and   destination,      additional     stops    along    the       route

requested by the Rider, the Rider's name, profile photo, rating,

Rider statistics (e.g., approximate number of prior rides and

years as a Rider), and additional information from the Rider's

profile (e.g., their preferred pronouns).

        9.     When a Driver accepts a ride, the Lyft App provides the

Rider with      information regarding the           Driver, including, inter

alia,    the    Driver's     name,   profile     photo,    preferred    pronouns,

rating, real-time location, and vehicle information such as the

make, model, color, and tag number.

       10.     When the Rider is picked up, the Lyft App provides the

Driver with turn-by-turn navigation to the Rider's destination.

The    Lyft    App   also   provides the      Rider   with    access to       a   live

roadmap, and an expected arrival time.



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  Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 16 of 56




       11.   After the Rider is dropped off at their destination

  the Lyft App requests that both the Rider and Driver provide a

  'rating of the other's conduct. The Rider is then given a receipt

  and trip summary, at which time they can provide an additional

  tip to the Driver if desired.

       12.   Defendant   Lyft   exerts   significant    control   over    its

  Drivers including, inter alia:

          a. Determining the fare charged for every ride;
          b. Terminating its Drivers' use of the Lyft App, with
            or without cause;
          c. Monitoring  Driver      performance       through    Rider
            feedback;
          d. Limiting Driver discretion to accept or reject
            Rider requests while using the Lyft app;
          e. Barring Drivers from arranging to provide for-hire
            ride services with its Riders outside of the Lyft
             App;
          f. Barring  Drivers   from  transporting    Riders  in
            vehicles of certain makes, title, and model years;
         g. Requiring drivers to display a Lyft emblem, affixed
            on the bottom-right corner of a Driver's windshield,
            and the "Lyft Amp," a lighted Lyft logo affixed to
            the center of the Driver's dashboard.
         h. Requiring drivers to complete the Rape, Abuse and
            Incest National Network ("RAINN") training, as
            explained further below, as a precondition to use
            of the Lyft App; and
         i. Requiring drivers to complete a background check,
            as explained further below, as a precondition to use
             of the Lyft App.




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          DEFENDANT LYFT'S FAILURE TO ADDRESS SEXUAL ASSAULT BY ITS
                                   DRIVERS

             13.    As    part   of        its            marketing    efforts,         Defendant      Lyft

      extensively touts its supposed measures to protect Rider safety.

      Defendant Lyft's Terms of Service present the Lyft App and its

      services as being "secure and safe," through measures including

      verification that Drivers meet safety requirements; investigating

      and resolving incidents; and blocking unsafe users from the Lyft

      platform.

             14.    Defendant Lyft also boasts a "Policy against sexual

      assault, misconduct, and harassment" on its website, which states

      that   it    "prohibit[s]           any            form   of    sexual         assault   or    sexual

      misconduct, including sexual harassment;" "[p]hysical touching,

      groping, pinching, kissing, hugging, patting, tickling, brushing

      against      another     person's              body,      assault,     coerced      sexual      acts,

      impeding       or    blocking                 movements;        [u]nwanted          advances       or

      propositions,       such    as        repeated            requests     for       dates   or    sexual

      favors; suggestive or obscene messages or invitations;

      staring, leering, or gestures; [clatcalling;                                             . [v]erbal

      conduct      such   as     lewd          remarks,          sex-based           epithets,      obscene

      comments, derogatory comments, sexually degrading words, slurs,

      sexual jokes, innuendo, or unwanted flirtations;" and "[g]raphic
Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 18 of 56
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comments about an individual's body, sexual prowess, or sexual

deficiencies."2

           15.                To   supposedly     further    those    aims,     Defendant       Lyft

advertises                     its    requirement     that    Drivers    "complete      a     safety

program developed with RAINN, the largest anti-sexual violence

organization in North America."3 This meager training consists of

watching 20-30 minutes of video programming, with no testing to

verify the Driver's understanding of the materia1.4 Defendant Lyft

does not publicize the lackluster nature of this training, but

rather promotes it as a robust anti-assault measure.

           16.                Defendant Lyft also claims that if a Driver is stopped

for      an           abnormal          amount   of   time   before     reaching   the      Rider's

destination, an inquiry is sent to the Rider through the Lyft

App. However, as explained further below, this feature fails to

work as expected, and is negligently designed and implemented.

          17.                 Despite   these    supposed    safety measures,      Lyft       Riders

experience                     high   rates   of sexual assault         by   Drivers.    In   2021,

Defendant Lyft revealed it received over 4,000 reports of sexual

assault                       from      Riders    between      January        1,   2017,        and



2 See Policy against sexual assault, misconduct, and harassment, LYFT
WEBSITE   https://help.lyft.com/hc/e/all/articles/360059009074-Policy-
against-sexual-assault-misconduct-and-harassment (Last accessed on
Apr. 26, 2023).
3 See Safety, LYFTWEBSITE, https://www.lyft.com/safety (Last accessed on
Apr. 26, 2023).
4  See Lyft's New Mandatory Safety Training Program, RIDESHARE GUY,
https://therideshareguy.com/lyft-safety-training-program/          (Last
Accessed on Apr. 26, 2023).
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December 31, 2019.5 That report also showed that instances of

sexual assault increased year-after-year, and included 360 total

reports of non-consensual sexual penetration and 2,300 reports of

"non-consensual touching of a sexual body part."

        18.   Defendant Lyft has failed to adequately address this

problem.      While   Defendant Lyft markets itself as                     having taken

serious measures to address sexual assault, in reality, Defendant

Lyft fails to do even the bare minimum to assure Rider safety.

        19.   Defendant    Lyft             does   not    require   Drivers     to   undergo

comprehensive background checks. While the District of Columbia

requires all taxi drivers to. undergo biometric fingerprinting to

ensure that any crimes committed by the driver, nationwide, and

regardless      of    alias,     are         uncovered,     Defendant     Lyft    does   not

require the same from its for-hire Drivers. Defendant Lyft also

does not conduct screening interviews of its Drivers, or request

professional references. Nor does it provide mandatory training

to its Drivers, apart from the deficient RAINN program described

above.

       20.    Defendant     Lyft            has    also    failed   to    implement      any

effective     real-time     Driver            monitoring     system,     such    as,   inter

alia, mandating the use of car cameras to be operated during the

course of a ride; using GPS technology to allow a prompt and




5   See Lyft Community Safety Report, Lyft, Inc. (2021).,


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effective response from trained employees and/or law enforcement

in an emergency situation; or implementing an easily accessible

emergency/panic button that allows a Rider to receive emergency

assistance when required.

        21.   Instead,    Defendant         Lyft    has   embraced         a     reactive

approach to sexual assault. Its sexual harassment policy states

that when a sexual assault complaint is submitted:

       [Lyft]   will   conduct    an   impartial   and    timely
       investigation to reach reasonable conclusions based on
       the information collected. If an allegation is credible,
       Lyft will take action up to and including permanently
       removing a user's access to ride and/or drive with Lyft.6

Of course, this policy does nothing to address the sexual assault

before it happens, nor does the mere removal of the assailant as

a Lyft Driver provide much comfort to the victim.

        22.   As a result of Defendant Lyft's failures to address its

known    sexual   assault    pandemic,         Riders,        like   the       Plaintiff,

continue to be preyed upon by Lyft's Drivers.

        23.   These failures are particularly striking in light of

Defendant     Lyft's   active     marketing        efforts     towards     those    most

likely to be victimized by its Drivers. For example, through a

partnership with It's On Us, Defendant Lyft represented itself as

a good option for        young women on college campuses coming home




6   See Policy against sexual assault[...], Lm WEBSITE, supra.
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        late from a party.7 This campaign clearly demonstrates Defendant

        Lyft's prioritization of its bottom-line over the welfare of its

        Riders.      Intoxicated,       young,           female     Riders             are   enticed to                       use

        Lyft's services late at night, with no knowledge of its abysmal

        sexual assault record or threadbare safety precautions.

                                     FACTS SPECIFIC TO PLAINTIFF

              24.     On April 30, 2022, at or around 12:45 a.m., Plaintiff

        Jane Doe booked a ride on the Lyft App for transport from 3181

        Wilson      Boulevard,         Arlington,            Virginia                  to    a   location                      in

        Washington, DC.

              25.     Defendant Naoufal Jellali was the Lyft Driver assigned

        to the ride. When             he arrived, Plaintiff was able to identify

        Defendal Jellali as her Driver by the Lyft branding materials

        affixed to his vehicle, and matching tag number provided in the

        Lyft App.

              26.     Once Plaintiff entered the backseat, Defendant Jellali

        admitted he only accepted the ride after viewing her photo.

              27.     Minutes into the ride, Defendant Jellali pulled over by

        the   side    of       the   road        and     demanded      that            Plaintiff    exit                 the

        backseat. When she complied, Defendant Jellali approached her,




        7 See It's On Us Partners with Lyft, MEDIUM,
        https://medium.comi@ItsOnUs/its-on-us-partners-with-lyft-free-
        safe-rides-home-bf202af46d53 (Last accessed on Apr. 26, 2023).
Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 22 of 56




and    forcibly      groped,     kissed,       and    fondled    her    breasts     for

approximately seven minutes.

       28.    Defendant Jellali then demanded that Plaintiff return

to the vehicle and instructed her to sit in the front passenger

seat, to which she complied.

       29.    Throughout the ride, Defendant Jellali made unwanted

sexual advances including, inter alia, sexual touching, groping,

sexual   advances,       sexual    innuendos,         and   inappropriate       sexual

comments.

       30.    Plaintiff   pled     with    Defendant        Jellali    to   cease   his

assault, and drive her to her destination, trying to remain calm

while using her phone to record some of the conversation and

Defendant Jellali's conduct. Defendant Jellali declined to drive

her home, and stated that he had an erection and intended to have

fun with her.

       31.    While Defendant Jellali was proceeding, Plaintiff tried

but was unable to find an emergency notification button in the

Lyft   App.    Her   phone     then    dropped       between    her    seat   and   the

vehicle's center console during the course of the assault.

       32.    Shortly thereafter, Defendal Jellali pulled over to the

side   of the     road   where    he   pinned        Plaintiff against        his car,

touched and fondled Plaintiff's breasts, and pressed his genitalia

against her.




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             Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 23 of 56
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                    33.   After significant time had elapsed, Defendant Jellali

             relented and     drove   to   Plaintiff's destination      but   refused to

             unlock the doors, and continued sexually assaulting her. Upon

             returning to the vehicle, Plaintiff was able to fish her phone

             out of the center console.

                    34.   When Defendant Jellali finally unlocked the doors to

             the vehicle at Plaintiff's destination, she ran to safety.

                    35.   The ride summary for Plaintiff's trip in the Lyft App

             shows that this ride took 58 minutes and 57 seconds. The Google

             Maps transit application provides an estimated time of "18-30

             minutes" for this journey when undertaken at 12:45 a.m. on a

             Saturday.

                    36.   After making it to her destination, Plaintiff saw that

             she had received an automatic notification in the Lyft App stating

             that'she had "been stopped for a while." See screenshot pictured

             below. Upon information and belief, Plaintiff alleges that this

             notification was received after the end of her ride. Defendant

             Lyft made no further attempts to assure the Plaintiff's safety,

             such   as,   inter   alia,    contacting   its   Driver,   contacting                   law

             enforcement, and/or attempting to contact the Plaintiff by phone

             call, despite knowing that the prolonged stop was a cause for

             concern.
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                         Sherman Ave NW?



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                                         Just checking in
                          It looks like you've been stopped for a while. Do
                                            you need help?



                         Fit    Report safety issue or accident


                         0 Get emergency help



                                             No,thanks



      37.   Once   the   Plaintiff                 was     finally             able   to   escape                the

vehicle, Defendant Jellali called her twice, at 2:17 a.m. and

2:19 a.m., to continue his sexual harassment.

      38.   Plaintiff subsequently reported the sexual assault to

the Metropolitan Police Department and the case is actively under

police investigation.

     39.    Plaintiff also reported the sexual assault to Defendant

Lyft via the Lyft App. Defendant Lyft's sole reparative effort

was refunding Plaintiff's fare of $21.24 for the ride.

     40.    Defendant Lyft never informed                                  Plaintiff       whether its

Driver, Defendant Jellali, continues to drive for Lyft, or advised


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Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 25 of 56
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as to any subsequent investigation into the Plaintiff's sexual

assault at the hands of its driver.

                              COUNT I
             (Negligent Design - Defendant Lyft, Inc.)

     Plaintiff    repleads and incorporates                               by reference     herein,

each and every allegation set forth above, and further states as

follows:

     41.    Defendant Lyft designed, manufactured, and distributed

the Lyft App.

     42.    Defendant Lyft owed a duty to its Riders, including

Plaintiff, to design the Lyft App so that it would perform as an

ordinary    consumer     would      reasonably            expect            when    used   in        its

intended manner.

     43.    As set forth above, Defendant Lyft's Terms of Service

advertise   the   Lyft       App    as    being      "secure               and    safe," through

supposed    measures         such    as    ensuring                Drivers         meet    "safety

requirements,"    "investigating            and         resolving                incidents,"         and

blocking "unsafe users" from the Lyft platform. Defendant Lyft

claims in its marketing that its Drivers have undergone sexual

assault training, but fails to notify Riders of the lackluster,

nature   of this training.           Defendant          Lyft also claims that its

Drivers have undergone background checks, but does not inform

Riders that those background checks are below the standard for

taxi drivers operating in D.C. Rather, Defendant Lyft markets the




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Lyft App as a safe option for young women to get home late at

night.

       44.    A reasonable consumer, particularly in light of the

above-referenced marketing, would expect the Lyft App to have

safety features including, inter alia, only pairing Riders with

Drivers who have undergone comprehensive background checks; only

pairing      Riders   with    Drivers    who     have          undergone       comprehensive

sexual    assault     training;      ride      monitoring              systems   that     would

detect    unusual     ride   activity and        ensure               Rider   safety through

measures, including, but not limited to, contacting the Driver

and/or law      enforcement; and         conspicuous,                 responsive emergency

notification systems to be utilized by a Rider in case of an

emergency.

       45.    Defendant Lyft breached the duties owed to Plaintiff.

Defendant      Lyft    designed,      manufactured,                   and   distributed      the

defective Lyft App, which pairs Riders with dangerous, untrained

Drivers, without any effective features in place to automatically

provide aid in emergency situations, and without any conspicuous

features in place that might enable its Riders to effectively

request emergency assistance.

       46. 'As a direct and proximate result of the Defendant's

aforesaid negligent conduct, Plaintiff was sexually assaulted as

set forth above, and has experienced, and continues to experience,

severe emotional distress, including severe pain and suffering,



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Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 27 of 56




mental        anguish,   fear,   inconvenience,      nervousness,       indignity,

insult, humiliation, embarrassment, all of which may be permanent

in nature.

        WHEREFORE,       Plaintiff    Jane    Doe   demands    judgment    of   and

against Defendant Lyft, Inc., in the full amount of Two Million

Five    Hundred     Thousand     Dollars .($2,500,000.00)       in    compensatory

damages, plus pre-judgment interest and costs.

                            COUNT II
    (Failure to Warn of Design Defect - Defendant Lyft, Inc.)

        Plaintiff    repleads and      incorporates     by reference      herein,

each and every allegation set forth above, and further states as

follows:

        47.     Defendant Lyft knew, or reasonably should have known,

that Riders were at risk of being assaulted by Drivers due to the

negligent design of the Lyft App, including its lack of safety

features, as set forth in Paragraph 45. Defendant Lyft further

knew,    or     reasonably   should    have    known,   that   this    danger   was

especially acute for a lone female Rider traveling late at night,

such as the Plaintiff.

        48.     Defendant Lyft knew, or reasonably should have known,

that Lyft Riders would not and could not appreciate the danger

posed by using the Lyft App, particularly in light of its contrary

marketing, as set forth above.

       49.      Defendant Lyft owed a reasonable duty to its Riders,




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           Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 28 of 56
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           such as the Plaintiff, to warn of the dangers that its Riders

           would reasonably fail to appreciate, particularly when due to its

           own conduct, that Defendant Lyft knew, or reasonably should have

           known, existed.

                  50.   Defendant    Lyft   breached           the       duties    owed           to       the

           Plaintiff by, inter alia, failing to advise Plaintiff as to the

           Lyft App's inability to procure trained, vetted Drivers; failing

           to advise Plaintiff of its lackluster, defective, and ineffective

           features     for   monitoring    Driver      misconduct;          and/or        otherwise

           failing to warn Plaintiff of the defective conditions of the Lyft

           App posing a danger to her safety.

                  51.   As a direct and proximate              result of the         Defendant's

           aforesaid    negligent    conduct,      Plaintiff            suffered   injuries                and

           damages as set forth above in Paragraph 46.

                  WHEREFORE,    Plaintiff    Jane       Doe    demands       judgment             of       and

           against Defendant Lyft Inc., in the full amount of Two Million

           Five   Hundred     Thousand   Dollars    ($2,500,000.00)           in    compensatory

           damages, plus pre-judgment interest and costs.

                                      COUNT III
           (Strict Liability for Defective Product - Defendant Lyft, Inc.)

                  Plaintiff    repleads and incorporates                 by reference             herein,

           each and every allegation set forth above, and further states as

           follows:

                  52.   As set forth above, the Lyft App was defective, and




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Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 29 of 56
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posed an unreasonable risk to the safety of Riders, such as the

Plaintiff,     when it was placed into the stream of commerce by

Defendant Lyft.

       53.    Defendant Lyft designed, manufactured, and placed the

Lyft   App,    its   primary     consumer       product,          into    the       stream   of

commerce, despite actual and/or constructive                         knowledge of the

Lyft App's many defects.

       54.    Consequently, Defendant Lyft is strictly liable for the

injuries     and   damages    suffered     by     Plaintiff,         as       set   forth    in

Paragraph 46, which were directly and proximately caused by the

Lyft App's numerous defects.

       WHEREFORE,     Plaintiff     Jane       Doe         demands   judgment         of     and

against Defendant Lyft Inc., in the full amount of Two Million

Five   Hundred     Thousand     Dollars    ($2,500,000.00)               in    compensatory

damages, plus pre-judgment interest and costs.

                             COUNT IV
       (Battery - Defendants Lyft, Inc. and Naoufal Jellali)

       Plaintiff     repleads    and incorporates                by reference         herein,

each and every allegation set forth above, and further states as

follows:

       55.    Defendant Jellali, and Defendant Lyft, acting through

its actual and/or       apparent agent,            servant,        employee, partner,

and/or co-venturer, Defendant Jellali, forcibly groped, touched,

kissed, fondled, pinned down, and grinded upon Plaintiff, without




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Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 30 of 56
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her consent, and without just cause or provocation, as set forth

above.

      56.    As        a       direct    and      proximate     result   of      Defendants

aforesaid battery, Plaintiff suffered injuries and damages as set

forth above in Paragraph 46.

      WHEREFORE,               Plaintiff    Jane     Doe    demands    judgment    of   and

against     Defendant            Lyft,     Inc.    and     Defendant   Naoufal    Jellali,

jointly and severally, in the full amount of Two Million Five

Hundred Thousand Dollars ($2,500,000.00) in compensatory damages,

and Three Million Five Hundred Thousand Dollars ($3,500,000.00)

in punitive damages, plus pre-judgment interest and costs.

                             COUNT V
      (Assault - Defendants Lyft, Inc. and Naoufal Jellali)

      Plaintiff repleads and incorporates by reference herein,

each and every allegation set forth above, and further states as

follows:

     57.     Defendant Jellali, and Defendant Lyft, acting through

its actual and/or apparent agent, servant, employee, partner,

and/or      co-venturer,             Defendant        Jellali,     put    Plaintiff      in

reasonable        apprehension             of     imminent     harmful   and     offensive

contact, by, inter alia, restraining her in the Lyft vehicle;

making    lewd      and         sexually    suggestive       comments;    and    fondling,

groping, kissing, and grinding upon Plaintiff without consent, as

set forth above.
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   Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 31 of 56




            58.    As a direct and proximate               result of the     Defendants'

       aforesaid assault, Plaintiff suffered injuries and damages as set

   forth above in Paragraph 46.

            WHEREFORE,      Plaintiff    Jane       Doe     demands    judgment    of   and

   against        Defendant   Lyft,     Inc.    and       Defendant    Naoufal    Jellali,

       jointly and severally, in the full amount of Two Million Five

       Hundred Thousand Dollars ($2,500,000.00) in compensatory damages,

   and Three Million Five Hundred Thousand Dollars ($3,500,000.00)

   in punitive damages, plus pre-judgment interest and costs.

                                        COUNT VI
                  (False Imprisonment - Defendants Lyft, Inc. and
                                  Naoufal Jellali)

           Plaintiff repleads and          incorporates by            reference   herein,

   each and every allegation set forth above, and further states as

   follows:

            59.    Defendant Jellali, and Defendant Lyft, acting through

   its actual and/or apparent agent, servant,                         employee,   partner,

   and/or co-venturer,         Defendant Jellali, unlawfully detained and

   restrained Plaintiff in Defendant Jellali's vehicle, against her

   will, as set forth above.

           60.     As a direct and       proximate         result of the     Defendants'

   aforesaid        false   imprisonment,      Plaintiff suffered          injuries     and

   damages as set forth above in Paragraph 46.

           WHEREFORE,       Plaintiff    Jane       Doe    demands     judgment    of   and

   against        Defendant   Lyft,     Inc.    and       Defendant    Naoufal    Jellali,



                                               19
Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 32 of 56




jointly and severally, in the full amount of Two Million Five

Hundred Thousand Dollars ($2,500,000.00) in compensatory damages,

and Three Million Five Hundred Thousand Dollars ($3,500,000.00)

in punitive damages, plus pre-judgment interest and costs.

                           COUNT VII
   (Intentional Infliction of Emotional Distress - Defendants
                Lyft, Inc. and Naoufal Jellali)

     Plaintiff        repleads and     incorporates    by reference          herein,

each and every allegation set forth above, and further states as

follows:

     61.    Defendant Jellali, and             Defendant Lyft acting through

its actual    and/or apparent          agent,    servant,    employee, partner,

and/or     co-venturer,         Defendant       Jellali,     did        by   extreme,

outrageous,      intentional,      willful,      malicious,    and       intolerable

conduct, humiliate, embarrass, shock, scar, batter, and frighten

Plaintiff as set forth above.

     62.    As    a    direct    and    proximate    result        of    Defendants'

aforesaid intentional infliction of emotional distress, Plaintiff

suffered injuries and damages as set forth above in Paragraph 46.

     WHEREFORE,        Plaintiff    Jane . Doe     demands    judgment        of   and

against    Defendant     Lyft,     Inc.   and    Defendant    Naoufal        Jellali,

jointly and severally, in the full amount of Two Million Five

Hundred Thousand Dollars ($2,500,000.00) in compensatory damages,

and Three Million Five Hundred Thousand Dollars ($3,500,000.00)

in punitive damages, plus pre-judgment interest and costs.




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Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 33 of 56




                            COUNT VIII
     (Negligence - Defendants Lyft, Inc. and Naoufal Jellali)

      Plaintiff repleads and incorporates               by reference    herein,

each and every allegation set forth above, and further states as

follows:

      63.     Defendant Jellali, and Defendant Lyft, directly, and

acting      through   its    actual   and/or     apparent      agent,   servant,

employee, partner, and/or co-venturer, Defendant Jellali, owed a

continuing duty to exercise ordinary care to protect Riders, such

as   the    Plaintiff,      from   foreseeable    harms,    including     sexual

battery, that were likely to cause serious harm and/or emotional

distress.

      64.      Defendant Jellali, and Defendant Lyft, directly, and

acting      through   its    actual   and/or     apparent      agent,   servant,

employee,      partner,      and/or    co-venturer,      Defendant      Jellali,

breached the duties owed to the Plaintiff by subjecting her to a

terrifying, prolonged sexual assault, as set forth above.

      65.     Defendant     Lyft   further   breached    the   duties   owed   to

Plaintiff by, inter alia, failing to provide adequate safeguards

to protect its Rider, the Plaintiff; failing to exercise adequate

control over its Driver, Defendant Jellali, so as to prevent him

from causing harm to its Rider, the Plaintiff; and failing to

design the Lyft App with ordinary and reasonable care to provide

adequate security to its Riders, including the Plaintiff, as set




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Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 34 of 56




;forth above.

       66.     As a direct and proximate result of the Defendants'

aforesaid negligence, Plaintiff suffered injuries and damages as

set forth above in Paragraph 46.

       WHEREFORE,     Plaintiff       Jane       Doe     demands     judgment    of   and

against      Defendant      Lyft,    Inc.    and       Defendant    Naoufal     Jellali,

jointly and severally, in the full amount of Two Million Five

Hundred Thousand Dollars ($2,500,000.00) in compensatory damages,

plus pre-judgment interest and costs.

                              COUNT IX
        (Negligent Hiring, Training, Supervision - Defendant
                            Lyft, Inc.)

       Plaintiff repleads and incorporates by reference herein each

and    every    allegation     set    forth       above      and   further   states   as

follows:

       67.     At all relevant times herein,                  Defendant Lyft owed a

continuing      duty to      reasonably,         carefully, and        conscientiously

train, select and supervise its personnel to reasonably assure

that    its     actual      and/or    apparent         agents,      servants,    and/or

employees      were   not    likely    to,       inter    alia,    sexually     assault,

sexually harass, grope, and imprison those, like Plaintiff, who

were utilizing its rideshare service.

       68.     Defendant     Lyft     breached         the    duties    owed    to    the

Plaintiff, by:




                                            22
Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 35 of 56




        a. Failing    to     adequately screen Defendant           Jellali
           prior to        allowing him to work as a  Driver,
           including,  inter  alia, failing to perform a
           comprehensive background check including biometric
           fingerprinting, failing to interview Defendant
           Jellali, failing to contact professional references
           with regards to Defendant Jellali, and/or otherwise
           failing to determine Defendant Jellali's competency
           to safely and appropriately transport its Riders;


        b. Failing to adequately train Defendant Jellali prior
           to allowing him to work as a Driver, including,
           inter alia, failing to mandate comprehensive sexual
           assault and/or safety training; and

        c. Failing to adequately supervise Defendant Jellali
           while he was working as a Driver, including, inter
           alia,  failing  to  implement  video monitoring,
           failing to implement an emergency warning system
           that  would  notify  trained  personnel  or  law
           enforcement in the event of an emergency, and/or
           otherwise   failing  to   implement   systems   to
           adequately detect   and  respond  to the    sexual
           assaults by its Drivers that Defendant Lyft knew,
           or should have known, were regularly occurring.


     69.   Defendant       Lyft's    negligent       hiring,    training,    and

supervision   of     Defendant      Jellali    was     further    unreasonable

considering   that    Defendant      Jellali   was    allowed    to   transport

women, such as the Plaintiff, who were traveling alone late and

night, and therefore particularly vulnerable to sexual assault

and harassment.

     70.   As a direct and          proximate result of the        Defendant's

aforesaid negligent hiring, training and supervision, Plaintiff

was subjected to a prolonged sexual assault, and suffered injuries



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                       Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 36 of 56
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                       and damages as set forth above Paragraph 46.

                               WHEREFORE,        Plaintiff      Jane       Doe    demands    judgment    of    and

                       against Defendant Lyft Inc., in the full amount of Two Million

                       Five    Hundred      Thousand      Dollars      ($2,500,000.00) in         compensatory

                       damages, plus pre-judgment interest and costs.

                                                       COUNT X
                              (Violations of D.C. Consumer Protection Procedures Act -
                                                Defendant Lyft, Inc.)

                              Plaintiff      repleads and        incorporates          by reference     herein,

                       each and every allegation set forth above, and further states as

                       follows:

                              71.   Pursuant       to    the    D.C.       Consumer   Protection      Procedures

                       Act, it is     unlawful for             any company to         misrepresent as         to a

                       material fact which has a tendency to mislead; or fail to state

                       a   material   fact       if    such    failure       tends    to   mislead,   including

                       through the use of innuendo or ambiguity as to a material fact.

                       See D.C. Code § 28-3904.

                              72.   Defendant Lyft violated the D.C. Consumer Protections

                       Procedures Act by making false statements including, inter alia,

                       warranting     that       the    Lyft   App     was "safe      and    secure;" falsely

                       advertising its Drivers' RAINN training in a manner suggesting

                       that    it   was     comprehensive        sexual          assault    training;   falsely

                       advertising the Lyft App as a safe mode of transportation for

                       young women traveling late at night; falsely advertising that the

                       Lyft App would reliably send a notification to a Rider in the



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        Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 37 of 56
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        event of an unusual delay when in actuality, that notification

        may not be sent until the ride            was concluded; and/or falsely

        advertising that the Lyft App would send a notification to a Rider

        in the event of an unusual delay in a manner which would lead a

        reasonable user, like Plaintiff, to believe that Lyft actively

        monitored its Drivers so as to actively intervene in an emergency

        situation.

              73.    Defendant   Lyft   further    violated     the   D.C.                Consumer

        Protections Procedures Act by omitting material facts including,

        inter alia, that Lyft's Drivers are not adequately vetted, trained

        and supervised to ensure Rider safety; that Lyft's Drivers are

        not subjected to adequate, comprehensive background checks or

        pre-screening;    that   Lyft's   Drivers    do   not   receive                  adequate,

        comprehensive, sexual assault training; and that the Lyft App is

        not adequately designed and manufactured to ensure Rider safety,

        as set forth above.

             74.    With regards to the above-referenced misstatements and

        omissions, Defendant Lyft knew, or should have known, that its

        representations were false, incomplete, and/or had a tendency to

        mislead a reasonable consumer, such as Plaintiff, into believing

        that the Lyft App and rideshare service were safer and more secure

        than they are in actuality. Defendant Lyft further intended that

        the Plaintiff and others similarly situated would rely on these

        misstatements and omissions in choosing to use its product over



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Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 38 of 56




those of its competitors.

      75.   As    a    direct      and    proximate    result     of    Defendant's

violations   of       the   D.C.    Consumer       Protection    Procedures    Act,

Plaintiff suffered injuries and damages as set forth above in

Paragraph 47.

      WHEREFORE,       Plaintiff         demands    judgment    of     and   against

Defendant Lyft for all remedies available under D.C. Code § 28-

3905(k)(2), including,          but not limited         to,    treble   damages or

$1,500 per violation, whichever is greater, reasonable attorney's

fees and costs, punitive damages, and an injunction against the

use of the unlawful trade practices detailed above.

                                          Respectfully submitted,

                                          CHAIKIN, SHERMAN, CAMMARATA
                                               & SIEGEL, P.C.




                                          Joseph Cammarata
                                          DC Bar No. 389254




                                          Kayann S. Chambers
                                          DC Bar No. 241462
                                          1232 17th Street, N.W.
                                          Washington, DC 20036
                                          Tel: (202) 659-8600
                                          Fax: (202) 659-8680
                                          joe@dc-law.net
                                          chambers@dc-law.net
                                          Attorneys for Plaintiff




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                                      JURY DEMAND                        1

     Plaihtiff hereby requests a trial by jury as to all issues
triable herein.



                                                                         .1
                                                Joseph Cammarata




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        Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 40 of 56



   Superior Court of the District of Columbia
                                  CIVIL DIVISION- CIVIL ACTIONS BRANCH

                                               INFORMATION SHEET

     Jane Doe                                                Case Number:              2023-CAB-002577

                         VS                                  Date:     April 26, 2023

    Lyft, Inc., et al.                                            One of the defendants is being sued
                                                                  in their official capacity.
Name:(Please Print)                                                            Relationship to Lawsuit
  Joseph Cammarata
                                                                                   Kg Attorney for Plaintiff
Firm Name:
 Chaikin. Sherman. Cammarata & Siegel. P.C.                                      •Self(Pro Se)
Telephone No.:            Six digit Unified Bar No.:
                                                                                 •Other:
 202-659-8600               389254

TYPE OF CASE: 1:=1 Non-Jury                    El 6 Person Jury                   El 12 Person Jury
Demand: $ 36,500,000+                                                 Other:

PENDING CASE(S)RELATED TO THE ACTION BEING FILED
Case No.:                                   Judge:                                Calendar #:


Case No.:                                   Judge:                                Calendar#:


NATURE OF SUIT:               (Check One Box Only)

A.CONTRACTS                                          COLLECTION CASES

•  01 Breach of Contract             I. 14 Under $25,000 Pltf. Grants Consent M 16 Under $25,000 Consent Denied
•02 Breach of Warranty               IM 17 OVER $25,000 Pltf. Grants Consent IIII 18 OVER $25,000 Consent Denied
IN 06 Negotiable Instrument          IN 27 Insurance/Subrogation              MI 26 Insurance/Subrogation
N 07 Personal Property                     Over $25,000 Pltf. Grants Consent        Over $25,000 Consent Denied
•13 Employment Discrimination        IN 07 Insurance/Subrogation             •   34 Insurance/Subrogation
m 15 Special Education Fees                Under $25,000 Pltf. Grants Consent        Under $25,000 Consent Denied
                                     .
                                     I 28 Motion to Confirm Arbitration
                                           Award (Collection Cases Only)

B.PROPERTY TORTS

MI 01 Automobile                  IN 03 Destruction of Private Property            IN 05 Trespass
IN 02 Conversion                  IN 04 Property Damage
•07 Shoplifting, D.C. Code § 27-102(a)


C.PERSONAL TORTS

•01 Abuse of Process              IN 10 Invasion of Privacy                            ri 17 Personal Injury-(Not Automobile,
NI 02 Alienation of Affection     IN 11 Libel and Slander                                      Not Malpractice)
M 03 Assault and Battery          IN 12 Malicious Interference                         I. 18Wrongful Death (Not Malpractice)
MI 04 Automobile- Personal Injury •13 Malicious Prosecution                            IN 19 Wrongful Eviction
•   05 Deceit (Misrepresentation) Il 14 Malpractice Legal                              NIII 20 Friendly Suit
III 06 False Accusation           IN 15 Malpractice Medical (Including Wrongful Death) M 21 Asbestos
IN 07 False Arrest                IN 16 Negligence-(Not Automobile,                    NI 22 Toxic/Mass Torts
IN 08 Fraud                              Not Malpractice)                              IN 23 Tobacco
                                                                                       IN 24 Lead Paint
                                      SEE REVERSE SIDE AND CHECK HERE              IF USED


CV-496/June 2015
          Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 41 of 56


                            Information Sheet, Continued

C. OTHERS
 001 Accounting                          0 17 Merit Personnel Act(OEA)
 L]02 Att. Before Judgment                (D.C. Code Title 1, Chapter 6)
     05 Ejectment                        E] 18 Product Liability
 El 09 Special Writ/Wan-ants
     (DC Code § 1 1-941)                 024 Application to Confirm, Modify,
 0 10 Traffic Adjudication                  Vacate Arbitration Award(DC Code § 16-4401)
 El I I Writ of Replevin                 El 29 Merit Personnel Act(OHR)
 El 12 Enforce Mechanics Lien            El 31 Housing Code Regulations
 0 16 Declaratory Judgment               El 32 Qui Tam
                                         El 33 Whistleblower



  El 03 Change of Name                  El 15 Libel of Information            021 Petition for Subpoena
  006 Foreign Judgment/Domestic         El 19 Enter Administrative Order as         [Rule 28-I (b)]
  008 Foreign Judgment/International           Judgment[ D.C. Code §          El 22 Release Mechanics Lien
     13 Correction of Birth Certificate        2-1802.03(h)or 32-151 9(a)]    0 23 Rule 27(a)(I)
  014 Correction of Marriage            El 20 Master Meter(D.C. Code §           (Perpetuate Testimony)
         Certificate                            42-3301, et seq.)             El 24 Petition for Structured Settlement
  El 26 Petition for Civil Asset Forfeiture (Vehicle)                         El 25 Petition for Liquidation
  El 27 Petition for Civil Asset Forfeiture(Currency)
  El 28 Petition for Civil Asset Forfeiture (Other)



D. REAL PROPERTY

 009 Real Property-Real Estate             CI 08 Quiet Title
 0 12 Specific Performance                025 Liens: Tax / Water Consent Granted
 004 Condemnation (Eminent Domain)        030 Liens: Tax / Water Consent Denied
 El 10 Mortgage Foreclosure/Judicial Sale El 31 Tax Lien Bid Off Certificate Consent Granted
 011 Petition for Civil Asset Forfeiture(RP)




           /s/ Joseph Cammarata                                               April 26, 2023

                      Attorney's Signature                                                     Date




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Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 42 of 56              eFiled
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                                                                          Superior Court
                                                                   of the District of Columbia




         IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                          CIVIL DIVISION

 JANE DOE

      Plaintiff,

            V.                                  Case No.
                                                       2023-CAB-002577
LYFT, INC., et al.

      Defendants.


     PLAINTIFF'S MOTION FOR LEAVE TO PROCEED UNDER PSEUDONYM,
                      AND TO SEAL EXHIBIT A

      COMES NOW Plaintiff "Jane Doe," 1 by and through her

 counsel, Joseph Cammarata, Esq., Kayann S. Chambers, Esq., and

 the law firm of Chaikin Sherman Cammarata & Siegel, P.C., and

 hereby requests that the Court protect Plaintiff's identity in

 this sexual assault case, by (1) permitting her to proceed

 under the pseudonym "Jane Doe," (2) permitting her not to

 publicly disclose her address, and (3) prohibiting Defendants

from disclosing her identity.        Plaintiff explains further as

follows:

                    FACTUAL & PROCEDURAL BACKGROUND

      This action arises out of a sexual assault perpetrated by

 Defendant Naoufal Jellali, a Lyft Driver, while Plaintiff was

on an active Lyft ride. Throughout the ride, Defendant Jellali

made unwanted sexual advances towards Plaintiff to include,


1 Plaintiff's actual name, and address, are stated in the Declaration
attached hereto as Exhibit A.
Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 43 of 56




sexual touching, including fondling Plaintiff's breasts,

kissing Plaintiff and pressing his genitalia against her.

Defendant Jellali's misconduct has compelled Plaintiff to

obtain mental health therapy. Plaintiff made a criminal

complaint against Defendant Jellali, and there is an active

criminal investigation.

      In the proposed Complaint in this action, Plaintiff

charges Defendants with inter alia, negligence, intentional

torts and, and seeks compensatory damages.

                                ARGUMENT

      The Superior Court Civil Procedure Rules generally require

that a complaint disclose a plaintiff's name and address. See

Super. Ct. Civ. Pro. R. 10(a), 10-I(b), 17(a).

      Nevertheless,    our   Court       of   Appeals   has   sub    silentio

recognized the power of the trial court to permit parties to

proceed pseudonymously, see, e.g., Roe v. Doe, 73 A.3d 132, 133

n.1 (D.C. 2013), as has the Supreme Court of the United States,

see, e.g., Roe v.      Wade, 410 U.S. 113, 120 n.4            &   n.5 (1973),

overruled on other grounds, Dobbs v. Jackson Women's Health Org.,

142 S. Ct. 2228 (2022).       Numerous federal courts of appeal and

district courts have explicitly approved of that power, as well.

See, e.g., Doe v. Megless, 654 F.3d 404, 408-10 (3d. Cir. 2011);

Doe v. De Amigos, LLC, Civ. Act. No. 11-1755, 2012 U.S. Dist.

LEXIS 190501 (D.D.C. Apr. 30, 2012).           Whether to permit a party


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Case 1:23-cv-02006-APM
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 to   proceed     pseudonymously       lies     within    the    trial       court's

 discretion.      See James v. Jacobsen, 6 F.3d 233, 238 (4th Cir.

 1993).

       In considering a request to allow a plaintiff to proceed

 pseudonymously, courts balance the public interest in access to

 trials   with the legitimate interests of the party making the

 request.     See Nat'l Ass'n of Waterfront Emp'rs v. Chao, 587 F.

 Supp. 2d 90, 98 (D.D.C. 2008). In Chao, the U.S. District Court

 for the District of Columbia employed a five-factor balancing

 test that considers:

       (1)   Whether  the   justification  asserted   by  the
       requesting party is merely to avoid the annoyance and
       criticism that may attend any litigation or is to
       preserve privacy in a matter of a sensitive and highly
       personal nature; (2) whether identification poses a
       risk of retaliatory physical or mental harm to the
       requesting party or even more critically, to innocent
       non-parties; (3) the ages of the persons whose privacy
       interests are sought to be protected; (4) whether the
       action is against a governmental or private party; and
       (5) the risk of unfairness to the opposing party from
       allowing an action against it to proceed anonymously.

 Id. at 99.     Here, the Chao factors taken together weigh in

favor of granting Plaintiff's request for leave to proceed

 under a pseudonym.

       First, Plaintiff seeks to proceed pseudonymously to

 preserve her own privacy in this highly sensitive and personal

matter, which risks further stigmatization and trauma.                      This

case involves humiliating acts of sexual assault by a Lyft



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        Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 45 of 56
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         Driver, Defendant Jellali. Future filings are likely to include

         explicit accounts of the incident.       Commentators have

         recognized that involuntarily disclosing the identity of

         victims of such acts results in real psychological harm to

         victims far more severe than "mere embarrassment." See Paul

         Marcus & Tara L McMahon, Limiting Disclosure of Rape Victims'

         Identities, 64 S. CAL. L. REV. 1020, 1048-49 (1991).

              Furthermore, this Court and others have repeatedly held

         that a victim of sexual abuse may be entitled to proceed

         pseudonymously in litigation arising out of that abuse.           By an

         Order attached hereto as Exhibit B, this Court granted such

         relief in Jane Doe 3 v. Georgetown Synagogue - Kesher Israel

         Congregation, 2015 CA 0078143 B, wherein the plaintiffs sued a

         rabbi who committed voyeurism by installing secret cameras in a

        changing room.     Likewise, the Court entered a similar Order,

        attached hereto as Exhibit C, in the case of Jane Roe 1 v.

         Latin American Montessori Bilingual Public Charter School, 2018

         CA 0001331 B, wherein the plaintiffs sued a schoolteacher for

        sexually abusing his students. More recently, the Court entered

        a similar Order, attached hereto as Exhibit D, in the case of

         Jane Doe v. Metro Lab LLC, et al., 2022-CA-003728-B, wherein

        the plaintiff sued a Physician's Assistant and his employer for

        a sexual assault that occurred during what was supposed to be a

        medical examination.

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Case 1:23-cv-02006-APM
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       To the same effect, see, e.g., Doe v. Blue Cross & Blue

1 Shield United, 112 F.3d 869, 872 (7th Cir. 1997) ("fictitious

 names are allowed when necessary to protect the privacy of

children, rape victims, and other particularly vulnerable

parties or witnesses"); E.E.O.C. v. ABM Indus., Inc., 249

 F.R.D. 588, 593-94 (E.D. Cal. 2008) (permitting plaintiffs to

proceed under pseudonym in sexual harassment case); De Amigos,

2012 U.S. Dist. LEXIS 190501 at *4 ("Courts have granted

anonymity to protect against disclosure of a wide range of

issues involving matters of the utmost intimacy, including

sexual assault." (quoting Doe No. 2 v. Kolko, 242 F.R.D. 193,

195-96 (E.D.N.Y. 2006)); Doe v. Bodwin, 326 N.W. 2d 473, 476

(Mich. Ct. App. 1982) (recognizing court's discretion to permit

under pseudonym, in case arising out of alleged sexual abuse by

plaintiff's psychologist).           Courts have noted that "the public

generally has a strong interest in protecting the identities of

sexual assault victims so that other victims will not be

deterred from reporting such crimes."              De Amigos, 2012 U.S.

Dist. LEXIS 190501 at *5 (quoting Kolko, 242 F.R.D. at 195-96).

       Regarding the second Chao factor, "publicity could

exacerbate) the psychological harm that [Plaintiff] has already

experienced," id., given that the lawsuit will require the

graphic disclosure of details of the sexual abuse that

Defendant Jellali committed during a Lyft ride.                 In De Amigos,


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 Case 1:23-cv-02006-APM Document 1-2,12•L'Ttf.,
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      the U.S. District Court for the District of Columbia found this

      concern to weigh in favor of permitting a pseudonym.

           The third Chao factor (age) does not apply here, because

      Plaintiff was an adult.

           The fourth Chao factor weighs in favor of allowing

      Plaintiffs to under a pseudonym.     This factor looks at whether

      the defendant is a government or private party.        The

      significance of the distinction lies in the fact that a private

      defendant, unlike a government defendant, has a reputation to

      protect against anonymous accusations.      However, Defendant Lyft

  is not an individual and is not accused of personally

      committing sexual abuse; thus, the risk of a stigma attaching

      to Defendant Lyft is not of particular concern here.         See De

      Amigos, 2012 U.S. Dist. LEXIS 190501 at *7 (granting right to

      proceed under pseudonym in sexual assault action brought

      against, inter alia, venue that served plaintiff alcohol prior

  to assault).      And although Defendant Jellali is an individual,

  there is already an active criminal investigation open against

      him, and practically cannot suffer additional stigma by

      Plaintiff's accusation.   See also Kolko, 242 F.R.D. at 195-96

  (permitting plaintiff to proceed under pseudonym in sexual

  assault suit against Orthodox Jewish religious school and

  rabbi, because public interest at stake made case akin to one

  against government).

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Case 1:23-cv-02006-APM Document 1-2 Filed 07/12/23 Page 48 of 56
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      As to the final Chao factor, there is no risk of

unfairness to the opposing parties.          Plaintiff will serve

Exhibit A (containing her name and address) together with

process, upon Defendants.

      WHEREFORE, Plaintiff Jane Doe respectfully requests that

the Court grant the foregoing Motion.

                                  Respectfully submitted,

                                  CHAIKIN, SHERMAN,
                                     CAMMARATA & SIEGEL, P.C.




                                  Joseph Cammarata
                                  DC Bar No. 389254
                                  Kayann S. Chambers
                                  DC Bar No. 241462
                                  1232 17th Street, N.W.
                                  Washington, DC 20036
                                  Tel: (202) 659-8600
                                  Fax: (202) 659-8680
                                  joe@dc-law.net
                                  chambers@dc-law.net
                                  Attorneys for Plaintiff


                        RULE 12-I CERTIFICATION

     I certify that no Defendant has been served in this
action. The undersigned was therefore unable to confer with
counsel pursuant to Rule 12-I.




                                  Joseph Cammarata
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                                  CERTIFICATE OF SERVICE

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          Leave to Proceed Under Pseudonym, and to Seal Exhibit A, will
          be served upon Defendants along W• h process.




                                               Joseph Cammarata




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                                IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                                  CIVIL DIVISION

                     JANE DOE

                             Plaintiff,

                                   V.                                 Case No.

                     LYFT, INC., et al.

                             Defendants.


                                        DECLARATION OF PLAINTIFF'S IDENTITY

                     1       I, Joseph Cammarata, Esq., counsel for Plaintiff, solemnly

                     affirm under penalty of perjury that to the best of my

                         knowledge, information, and belief, the Plaintiff in this

                     matter is Tabitha Jackson, 1111 Army Navy Drive, Apr. 312,

                     Arlington, VA 22202.




                                                         Joseph Cammarata




                                                                                       EXHIBIT
                                                                                         A
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                            -        IN THE SUPERIOR'COURT OF THE DISTRICT OF COLUMBIA
                                                       CIVIL DIVISION

                      Jane Doe 31 et al.

                                Plaintiffs,

                                V.                                              Case ishti 5 ,..,   00 781 4..e
                     The Georgetown Synagogue —
                     Kesher Israel Congregation, et al.

                                Defendants.


                     *          *         *   *      *       *       *      *       *               *       *


                      ORDER GRANTING PLAINTIFFS' MOTION FOR LEAVE TO PROCEED UNDER A
                          PSEUDONYM AND TO SEAL EXIMITA TO THE INSTANT MOTION

                                Upon consideration ofPlaintiffs' Motion to For Leave to Proceed Under a

                         Pseudonym and to Seal Exhibit A to the Instant Motion, and finding good cause supporting

                         the same, it is on this 9
                                                 '41 day of October,2015, hereby ORDERED that the Motion is

                         GRANTED as follows:

                                              A. Exhibit A to the Motion, shall be and hereby is SEALED;and,

                                                  furthermore

                                              B. The names of the Plaintiffs shall be and are hereby SEALED on

                                                  the public record; and,furthermore,

                                              C. The plaintiffs shall be referred to, respectively, as "Jane Doc 3,"

                                                  "John Doe 3,""Jane Doe 4,""John Doe 4,""Jane Doe 5," "Jane

                                                  Doe 6,""Jane Doe 7,""Jane Doe 8," and "Jane Doe 9" in all

    1                                             pleadings and papers filed in the above-captioned matter; and,

                                     ..           furthermore,
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                        D. The clerk of the Court and all pleadings and other documents filed

                            with the Court shall reflect the address of the Plaintiffs to be,

                            respectively:

                                   Jane Doe 3
                                   c/o Chaikin, Sherman, Cammarata & Siegel, P.C.
                                   1232 17th Street NW
                                   Washington, D.C.20036

                                   John Doe 3
                                   c/o Chaikin, Sherman, Cammarata & Siegel, P.C.
                                   1232 17th Street NW
                                   Washington, D.C.20036

                                   Jane Doe 4
                                   c/o Chaikin, Sherman, Cammarata & Siegel,P.C.
                                   1232 17th Street NW
                                   Washington, D.C. 20036

                                   John Doe 4
                                   d o Chaikin, Sherman, Cammarata & Siegel,P.C.
                                   1232 17th Street NW
                                   Washington, D.C.20036

                                   Jane Doe 5
                                   d o Chaikin,Sherman, Cammarata 8c Siegel, P.C.
                                   1232 17th Street NW
                                   Washington, D.C. 20036

                                   Jane Doe 6
                                   c/o Chaikin, Sherman, Cammarata & Siegel, P.C.
                                   1232 17th Street NW
                                   Washington, D.C.20036

                                   Jane Doe 7
                                   d o Chaikin, Sherman, Cammarata 8c Siegel,P.C.
                                   1232 171h Street NW
                                   Washington, D.C.20036

                                   Jane Doe 8
                                   c/o Chaikin, Sherman, Cammarata & Siegel, P.C.
                                   1232 17th Street NW
                                   Washington, D.C. 20036



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                                d o Chaikin,Sherman, Cammarata & Siegel,P.C.
                                1232 17th Street NW
                                Washington,D.C. 20036




                                         J
                                         Superior Court for the District of Columbia

    CC:

    Ira Sherman
    Joseph Cammarata
    Allan M.Siegel
    Matthew W.Tievslcy
    CHAIM,SHERMAN,
      CAMMARATA & SIEGEL,P.C.
    1232 17th Street, N.W.
    Washington, D.C.20036




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                                IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                                  CIVIL DIVISION

                  JANE ROE 1, et al.

                           Plaintiffs,
                                                                         FIC8D-1
                                                                               !             0 0 0 1331
                           V.                                CIVIL ACT19NSBMW

                  LATIN AMERICAN MONTESSORI                       FEB 26 2.0$3
                  BILINGUAL PUBLIC CHARTER                            Supc;iot Court
                                                                o.fthc 1)0tict pfColtynbia
                  SCHOOL,et at.                                      Wastuilgtort, D.C.

                                   Defendants.

                                                                 ORDER

                           Upon consideration ofPlaintiffs' Motion for Leave to Proceed Anonymously and to

                   Seal Exhibit B, it is on this*hay of February, 2018, hereby ORDERED that the Motion is

                   GRANTED as follows:

                           A. The adult Plaintiffs in this action are hereinafter permitted to proceed under the

                  pseudonyms employed in the Complaint;

                           B. The clerk of the Court and all pleadings and other documents filed with the Court

                  shall reflect the address of every Plaintiff to be:

                            d o Chaikin, Sherman, Cammarata & Siegel, P.C.
                            1 232 17th Street NW
                           -Washington, D.C. 20036

                  and;

                           C. The identity of each and every Plaintiff(including the initials of his or her name)

                  is hereby sealed, Jg‘61.9u1 '14.• /Icon Saft1-1441              mocatdritebi ff"    4-4,
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                  CJSe •'S t5s),,rd                   /.          Judge,
                                                                  Superior Court for the District of Columbia

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          CC:

          Joseph Cammarata
          Matthew W.Tievsky
          CHAIKIN,SHERMAN,
           CAMMARATA & SIEGEL,P.C.
          1232 17th Street,N.W.
          Washington, D.C. 20036
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             IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                               CIVIL DIVISION

JANE DOE



                   V.                                               Case No.

METRO LAB LLC,et al.

              Defendants.

                                                'ORDER

        Upon consideration of Plaintiff's Motion for Leave to Proceed Under Pseudonym, and

  to Seal Exhibit A, it is on this 12th day of August, 2022, hereby ORDERED that the Motion is

  GRANTED as follows:

        A. Plaintiff is hereinafter permitted to proceed as "Jane Doe" in this matter;

        B. The Clerk of the Court and all pleadings and other documents filed with the Court

shall reflect the address of the Plaintiff to be:

        c/o Chaikin, Sherman, Cammarata & Siegel, P.C.
        1232 17th Street NW
        Washington, D.C. 20036
and;

        C. The identity of Plaintiff is hereby sealed.




                                                  Michael Rankin, Senior Judge
                                                  Sitting as Judge-in-Chambers
CC:
Joseph Cammarata
Matthew W. Tievsky
CHARM,SHERMAN,
 CAMMARATA & SIEGEL,P.C.
1232 17th Street, N.W.                                                                   PLAINTIFF'S
                                                                                  •        EXHIBIT
Washington, D.C. 20036
                                                                                   s        D

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